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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                                        Case No. : 22 -CR-123-RDM

          v                                                     40   u.s.c.   $ s10a(e)(2)(G)

JEFFREY L. MUNGER,

          Defendant.


                                    STATEMENT OF OFFENSE

          Pursuant to Fed. R. Crim. P. I 1, the United States of America, by and through its attorney,

the United States Attorney for the District of Columbia, and the defendant, Jeffrey L. Munger,

with the concurrence of his attorney, agree and stipulate to the below factual basis for the

defendant's guilty     plea-that is, if this   case were      to proceed to trial, the parties stipulate that the

United States could prove the below facts beyond a reasonable doubt:

                           The Attack at the U.S. Capitol on January 6, 2021

          l.     The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

          2.     On January 6,2021, the exterior plaza of the Capitol was closed to members of the

public.

          3.     On January 6,2OZl,      a   joint   session of the United States Congress convened at the


Capitol, which is located at First Street, SE, in Washington, D.C. During the
                                                                              joint session, elected

                                                                                   were meeting
members of the United States House of Representatives and the United States Senate

                                                                                       of the 2020
in separate chambers of the Capitol to certify the vote count of the Electoral College

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